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                                                                  10                         UNITED STATES DISTRICT COURT
                                                                  11                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                  12                              (Magistrate Judge William Gallo)
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   UNITED STATES OF AMERICA,                    Case No. 18-CR-3677-W
                                    750 B STREET, SUITE 2100




                                                                  14                     Plaintiff,                 NOTICE OF APPEARANCE OF
                                                                  15                                                PHILIP B. ADAMS
                                                                                   v.
                                                                  16                                                Magistrate Judge William Gallo
                                                                  17   DUNCAN D. HUNTER,
                                                                  18                     Defendant.
                                                                  19
                                                                  20   TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                  21         PLEASE TAKE NOTICE that attorney Philip B. Adams hereby appears for
                                                                  22   Defendant DUNCAN D. HUNTER.
                                                                  23   Dated: August 28, 2018                 SELTZER CAPLAN McMAHON VITEK
                                                                                                              A Law Corporation
                                                                  24
                                                                  25                                          By:   s/ Philip B. Adams
                                                                                                                    Gregory A. Vega
                                                                  26                                                Philip B. Adams
                                                                  27                                                Ricardo Arias
                                                                                                              Attorneys for Defendant, DUNCAN D.
                                                                  28                                          HUNTER
                                                                                                                                           Case No. 18-CR-3677-W
                                                                       NOTICE OF APPEARANCE OF PHILIP B. ADAMS
                                                                          Case 3:18-cr-03677-W Document 15 Filed 08/28/18 PageID.77 Page 2 of 2



                                                                   1                                CERTIFICATE OF SERVICE
                                                                   2         I hereby certify that I am over the age of eighteen and am not a party to this
                                                                   3   action. On today’s date, I filed a true and correct copy of the foregoing document(s)
                                                                   4   through this court’s Electronic Filing System (ECF). By virtue of the ECF system,
                                                                   5   Counsel for Plaintiff, and all interested parties, were served electronically upon the
                                                                   6   filing of this document.
                                                                   7         I declare under penalty of perjury under the laws of the United States of America
                                                                   8   that the foregoing is true and correct.
                                                                   9
                                                                  10   Dated: August 28, 2018                    SELTZER CAPLAN McMAHON VITEK
                                                                                                                 A Law Corporation
                                                                  11
                                                                  12                                             s/ Philip B. Adams
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




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                                                                       NOTICE OF APPEARANCE OF PHILIP B. ADAMS
